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IN THE UNITED S'I`ATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

CHARLENE JoHNsoN ' ' *

v. * Civil Action No. CCB-l7-0124
EDWARD D. JONES & CO., L.P. "
MEMORANDUM

This is an employment discrimination case. On January 13, 2017, the plaintiff, Charlene
Johnson, sued the defendant, Edward D. Jones & Company, L.P. (“Edward J'ones”), seeking
compensatory and punitive damages as well as attorney’s fees for Edward Jones’ alleged
violations of Title VII of the Civil Rights Act of 1964. This matter is before the court on Edward
Jones’ motion for summary judgment For the reasons stated below, the court will grant the
motion.

Factual and Procedural Background

This case has a lengthy factual and procedural history, only the relevant portions of
which will be recited here. Ms. Johnson is an African-American Womari. On December 19,
2005, EdWard Jones hired Ms. Johnson as a branch office assistant (“BOA”) trainee at its Prince
Frederick, Maryland branch office On June 1, 2006, Edward Jones promoted Ms. Johnson to a
BOA and, in June 2011, to a Serlior BOA.1 MS. Johnson reported to Jeffrey Quesenberry, the
branch office’s financial advisor. Ms. Johnson worked With Duffy Mavilia, a white BOA at the
branch oflice.

From lariuary to November 2015, MS. Johnson observed scratches on~ her vehicle on four

separate occasions while it was parked during work hours. Upon discovering the first scratches

 

1 Throughout her pleadings, Ms.. Johnson provided varying dates regarding her hiring and promotion The
court need not resolve these inconsistencies, as it is uncontested that Ms. Johnson was a senior BOA at
the time of the incidents in question

 

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in January 2015, Ms. Johnson notified Mr. Quesenberry of the damage Ms. Johnson also
informed Mr. Quesenberry that it appeared that the scratches had been painted over in red paint,
and showed him red tingernail polish that was sitting on Ms. Mavilia’s desk.

Ms. Johnson observed scratches on her car on three additional occasions in 2015, l
prompting Mr. Quesenberry to suggest that Ms. Johnson install security cameras to monitor the
vehicle during work hours. l l

On November 20, 2015, after again discovering scratches on her vehicle, Ms. Johnson
called Edward Jones’ global security department During the call, Ms. Johnson stated that she
suspected that Ms. Mavilia was scratching the vehicle and that she thus was seeking advice for
_ securing the vehicle2 Ms. Johnson reported that Ms. Mavilia at times would suggest Ms.
Johnson check her vehicle, and that she had not reported the incidents to the police Afcer Ms.
Johnson identified Ms. Mavilia as the suspected vandal, `Ms. Johnson was asked, “[i]s this
another BOA that’s doing this?” to which she responded “[y]es.” ECF. 30-4 at p. 37.

That same day, Ms. Johnson spoke by telephone with Donna Hinton and Mark Henke,
from Edward Jones’ associate relations3 (“AR”) and global security departments, respectively,
regarding her suspicions`. Ms. Hinton assigned Colleen Welch, a senior resolutions specialist
who reports to Ms. Hinton, to follow up on Ms. Johnson’s concerns

Ms. Welch called Ms. Johnson on November 30, 2015, at which time Ms. Johnson
expressed that she had not intended to involve AR and requested that AR cease its investigation
Ms. Welch informed Ms. Johnson that AR’s involvement was necessary due to the seriousness of

Ms. Johnson’s allegations

 

2 Also in 2015, Ms. Johnson and Ms. Mavilia allegedly had two disagreements due to Ms. Mavilia
making racially-charged comments, one regarding the murder of Freddie Gray and the other regarding
Ms. Mavilia’s father’s negative view of interracial relationships Ms. Johnson reported both incidents to
Mr. Quesenberry.

3 Edward J ones refers to human resources as associate relations

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On December 3, 2015, Ms. Johnson repeated, this time to Mr. Quesenbeny, that she did l
not want AR to continue in its investigation '_I`he following day, Ms. Welch informed Mr.
Quesenberry that she was concerned regarding Ms. Johnson’s requests to terminate the
investigation

During a January 8, 2016, conference call with Ms. Johnson and Mr. Quesenberry', Ms_.
Welch noted her concerns with Ms. Johnson’s apparent wavering in her accusations against Ms.
Mavilia, signified by Ms. Johnson’s requests to terminate the investigation Ms. Johnson
reiterated her suspicion ost. Mavilia.

During a January 21, 2016, meeting with Ms. Welch,l Mr. Quesenberry, and Ms. Mavilia,
Ms. Johnson wavered significantly on the frequency of the damage to her vehicle, and clarified
that, while she was suspicious of lMs. Mavilia, she did not wish to accuse her of vandalism and
had never accused her of such. Ms. Mavilia denied damaging Ms. Johnson’s car. Ms. Welch
reminded Ms. Johnson that she had affirmed that another BOA was damaging her vehicle during
the November 20, 2015, call with global security. Nonetheless, Ms. Johnson maintained that she
had never accused Ms. Mavilia of vandalizing the vehicle

On January 28, 2016, Ms. Welch notified Ms. Johnson that she was at risk of termination
Ms. Welch indicated that she believed that Ms. Johnson had been untruththl during the
investigation due in large part to Ms. Johnson’s denial of ever having accused Ms. Mavilia.

On January 29, 2016, Ms. Johnson provided a letter to Ms. Welch, Mr. Quesenberry, and
AR generally, wherein Ms. Johnson indicated that she felt her race was influencing the
investigation into her allegations Later that Same day, Ms. Welch confirmed Ms. Johnson’s
November 20, 2015, accusation during a conference call with Mr. Quesenberry and Ms. Johnson

Ms. Johnson disagreed with Ms. Welch’s assessment that Ms. Johnson had accused Ms. Mavilia

 

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of damaging her vehicle. At the end o_f the meeting, Ms. Welch informed Ms. Johnson that she
did not credit Ms. Johnson’s claims due to, inter alia, Ms. Johnson’s attempts to retract her
accusation and suspicions, as well as Ms. Welch’S conclusion that the scratches looked like
normal wear and tear rather than intentional damage and Ms. Johnson’s failure to provide to AR
supporting documentation regarding the scratches as had been requested previously

On February 5, 2016, Edward Jones terminated Ms. Johnson Ms. Welch made the
ultimate decision to terminate Ms. Johnson and informed her of that decision Ms. Johnson filed
a claim with the Equal Employment Opportunity Commission, which was dismissed ECF l30-
19 at p. 2; EC-F 30~20 at pp. 2-3.

On January 19, 2017, Ms. Johnson filed her complaint against Edward J ones in this court,
alleging that Edward Jones, in violation of both Title VII of the Civil Rights Act of 1964 (“Title
VII”) and the Maryland Fair Employment Practices Act', 1) terminated her due to her race, and 2)
retaliated against her for engaging in protected 'activity.4 Ms. Johnson filed her amended
complaint on March 10, 2017, and Edward J ones filed its answer on June 6, 2017.

On March 7, 2018, Edward Jones filed its motion for summary judgment, which has been
fully briefed and will be granted as explained below. n

STANDARD OF REVIEW

Federal Rule of Civil Procedure 56(a) provides that summary judgment should be granted
“if the movant shows that there is no genuine dispute as to any material fact and the movant is
entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a) (emphases added). “A dispute is

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genuine if ‘a reasonable jury could return a verdict for the nonmoving party. Liberfarian Party

of Va. v. Judd, 718 F.3d 308, 313 (4th Cir. 2013) (qnoting Du!aney v. Packaging Corp. of-Am.,

 

4 Ms. Johnson’s complaint included other allegations of misconduct by Edward .lones, which the court
dismissed on May 23, 2017.

 

 

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673 F.3d 323, 330 (4th Cir. 2012)). “A fact is material if it ‘might affect the outcome of the suit
under the governing iaw.”’ Id. (quoting,Anderson v. Liberty Lobby, 'Inc., 477 U.S. 242, 248
(1986)). Accordingly, “the mere existence of some alleged factual dispute between the parties
will not defeat an otherwise properly supported motion for summary judgment[.]” Anderson,
477 U.S. at 247-48. The court must view the evidence in the light most favorable to the
nonmoving party, Tolan v. Co_tron, 134 S. Ct. 1861, 1866 (2014) (per curiam) (citation and
quotation omitted), and draw all reasonable inferences in that party’s favor, Scoti‘ v. Harris, 55~0
U.S. 372, 378 (2007) (citations omitted); see also Jacobs v. N.C. Admirz. Ojj$ce of the Cow'ts,
780 F.3d 562, 568-69 (4th Cir. 201-5). At the same time, the court must “prevent factually
unsupported claims and defenses from proceeding to trial.” Bouchai‘ v. Balt. Ravens Foolba_ll
Club, Inc., 346 F.3d 514, 526 (4th Cir. 2003) (quoting Drewitt v. Pratt, 999 F.Zd 774, 778-79
(4th Cir. 1993)).
ANALYSIS

i. Termination

Title VII prohibits an employer from terminating an employee on the basis of the
employee’s race. 42 U.S.C. § 2000e-2(a).5 Absent direct evidence of discrimination to establish
a prima facie claim of discriminatory termination under Title VII, a plaintiff must allege: “(1)
membership in a protected class; J(2_) satisfactory job performance; (3) an adverse employment
action; and (4) different treatment from similarly situated employees outside the protected
class.” Coleman v. Md. Courl of Appeals, 626 F.3d 187, 190 (4th Cir. 2010); see generally

McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973). If a plaintiff establishes a prima

 

5 Ms.,Johnson’s state claims derive from the Maryland analog to Title VII, which involves the same prima
facie and burden-shifting frameworks. Given the analogous statutes, and considering the lack of material
facts in dispute as discussed infra, the court will not analyze separately Ms. Johnson’s claims under state
law.

 

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facie case, the burden of proof shifts to the defendant to “articulate a legitimate, non-
discriminatory justification for its allegedly discriminatory action.” Merritt v. Old Dominion
Frei'ghi‘ Line, ]nc., 601 F.3d 289, 294 (4th Cir. 2010). If the defendant-provides a non-
discriminatory reason for the difference in treatment, the plaintiff must then establish that the
proffered reason is pretext by proving “both that the reason was false, and that discrimination
was the real reason.” Adams v. Trustees of the Universily ofN. C.-Wilmlngton, 640 F.3d 550, 560
(4th Cir. 2011) (citing Jimlnez v. Mary Washington Coll., 57 F.3d 369, 378 (4th Cir. 1995)
(quotation omitted))', see also Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 148 `
(2000) (if plaintiffs establish a prima facie case and show the proffered explanation to be false, a
jury may infer discrimination was the real reason unless no rational factfinder could conclude
that the action was discriminatory (internal citation and quotation omitted)).~ The Fourth Circuit
has cautioned district courts from becoming overly mired in the McDonnell Douglas framework
See Merrirl, 601 F.3d 289, 294-95 (cautioning trial courts from becoming “so entwined in the
intricacies of the [McDonnell Doaglas] proof scheme that they forget that the scheme exists
solely to facilitate determination of the ‘ultimate question of discrimination vel non.”’ (internal
citation omitted)).

Assuming without deciding that;Ms. Johnson has established a prima facie case for

discriminatory termination6 Ms. Johnson has pleaded no facts which could prove that Edward

 

6 While the court assumes, in the interest of brevity, that Ms. Johnson could establish a prima facie case
for discriminatory termination, it has serious doubts about her practical ability to do so. The prima facie
case requires a plaintiff to identify comparable employees who 1) are not members of the same protected
class, 2) engaged in similar misconduct, but 3) did not face the same severe consequences Lightner v. '
Cz'ij/ ofWi'lmi'ngroi/i, 545 F.3d 260, 264-65 (4th Cir. 2008) (internal citation omitted). While Ms. Johnson
identified the workplace misconduct of three co-workers, including Ms. Mavilia, none of the prospective
'comparators were alleged to have lied to AR. in an investigation lal. at 265 (“[t]he similarity between
comparators‘ and the seriousness of their respective~offenses must be clearly established in order to be
meaningful” (intemal citation omitted)). Furthermore, Edward Jones identified at least o`ne white BOA
that was terminated solely for lying to A_R during an investigation ECF 30-23 at p. 8.

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Jones’ proffered reason for firing her was false and was pretext for racial discrimination

a. Edward Jones has provided a non-discriminatory reason for terminating Ms.
Johnson. .

Edward'J ones has established that Ms. Welch decided to terminate Ms. Johnson based on
Ms. Welch’s conclusion that Ms. Johnson had lied to AR during its investigation Specifically,
Ms. Welch concluded that Ms. Johnson had, at various junctures during the investigation
vacillated between accusing Ms. Mavilia of vandalizing her vehicle and reinsing to accuse
anyone7 Furthermore, Ms. Welch’s notes from the investigation explicitly detail her concerns
and the basis for her decision to terminate Ms. Johnson, including Ms. Johnson’s varying claims
about the duration and severity of the vandalism as well as Ms. Johnson’s ever-changing
accusations against Ms. Mavilia

Ms.\Welch noted her concern regarding this vacillation several_times, including during
the January 21, 2016, meeting when Ms. Welch reminded Ms. Johnson of her November 20,
2015, affirmance that Ms. Mavilia was scratching her car. This concern, which evolved into the
basis for Ms. Welch’s decision to terminate Ms. Johnson, is facially non-discriminatory

b. Ms. Johnson has not established that Edward Jones’ reason for firing her is
pretext for discrimination

Ms. Johnson has not alleged`any disputed facts which could show that Edward Jones’
reason for firing her was pretextual In an attempt to show that the proffered reason was false,
Ms. Johnson argued that Ms. Welch had no basis to conclude that Ms. Johnson was being

untruthful because Ms. Johnson’s claims were consistent throughout the investigation That

 

7 Ultimately, it appears that Ms. Welch’s conclusion turned on a persistent misunderstanding between Ms.
Johnson and Ms. Welch about the meaning of “accuse.” Based on their respective usage, it seems that
Ms. Welch classified Ms. Johnson’s repeated articulated suspicions of Ms. Mavilia as accusations, while
Ms. Johnson did not Thus, when Ms. Johnson alternated between saying that she did not want to accuse
anyone and that she suspected Ms. Mavilia, Ms. Welch concluded that the two assertions were
incongruous, and that Ms. Johnson was being untruthnil. '

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simply is not the case. Ms. Johnson’s claims were not consistent even for the duration of one
meeting During the January 21, 2016, meeting, Ms. Johnson’s claims about the scratching
shifted perceptibly. She first claimed that the vehicle was being scratched on a daily basis. Then
when questioned by Ms. Welch, Ms. Johnson claimed it was being scratched every week, and
after further questioning, she ultimately claimed the scratching was periodic. ECF 30-7 at p.6.

Ms. Johnson did not argue that the court should disregard Ms. Welch’s notes from the
investigation instead arguing that Ms. Welch’s conclusion that Ms. Johnson had been untruthful
could not have been reasonably drawn from the facts. The court disagrees While Ms. Welch’s
conclusion may not be one that every person would have reached, that is not the standard here.
See DeJarnette v. Corning, lnc., 133 F.3d 293, 299 (4th Cir. 1998) (noting that the court “does
not sit as a kind of super-personnel department weighing the prudence of employment decisions”
(internal citation and quotation omitted)).

.Rather, Ms. Johnson must have alleged facts showing that she would be able to prove that
the proffered reason is false, which she has not done. See Adams, 640 F.3d at 560. Ms. Welch
documented her concerns with Ms. Johnson’s behavior, and informed Ms. Johnson of the
concerns surrounding her truthfiilness as early as January 8, 2016. Ms. Johnson may continue to
disagree with the conclusion but that does not prove her case, given that Edward Jones clearly
has established its reasons for terminating Ms. Johnson and has provided extensive
documentation to that end. Ms. Johnson did not claim that Edward Jones’ documents were
falsified or otherwise unrepresentative of Ms. Welch’s investigation nor does she identify any
evidence that suggests another reason for her termination

Finally, Ms. Johnson has provided no evidence that her race was in any way a factor in

Edward Jones’ decision to terminate her. Ms. Johnson accurately asserts that a plaintiff does not

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need to provide evidence that race was a factor in the decision if the factfinder could conclude
that the employer’s justification was false, unless “no rational factfinder could conclude that the
action was discriminatory.” Reeves, 530 U.S. at 148. As discussed above, however, Ms.
Johnson has not provided any evidence that Edward Jones’ proffered reason is false, and Edward
Jones has proven that its proffered reason was based on the results of its investigation
Fnrthermore, Ms. Johnson has made no claim that either Ms. Welch or Mr. Quesenberry, the two
individuals most'involved in the decision to terminate Ms. Johnson8 ever engaged in racist
behavior or speech or that her termination was otherwise influenced by her race. In surn, there is
no factual dispute that Edward Jones hasiestablished that it had a non-discriminatory, non-
pretextual reason for terminating Ms. Johnson
ii. Retaliation

To establish a prima facie case for retaliation under Title VII, ta plaintiff must
demonstrate that 1) she engaged in protected activity; 2) her employer took adverse employment
action against her; and 3) .a causal connection existed between the protected activity and the
adverse action Foster v. Univ. of Md.-Easlern Shore, 787 F.3d 243, '250 (4th Cir. 2015)
(internal citation omitted). The burden then shifts to, the defendant to provide a non-retaliatory
reason for the adverse employment action ]d.

l If the defendant provides such a reason the burden shifts back to the plaintiff to prove
that the proffered reason is pretext for retaliation Id. Ultimately, the plaintiff must prove that
her protected activity was a “but-for cause” of her termination Um'v. of Tex. Sw. Med.=Ctr. v.
Nassar, 570 U.S. 338, 360 (2013); see also Foster, 787 _F.3d at 252 (finding that Nassar did not

alter th_e M_cDormell Douglas retaliation framework, given that “the‘ McDormell Douglas

 

3 While Mr. Quesenberry was involved throughout AR.’s investigation the authority to terminate Ms.
Johnson was solely Ms. Welch’s.

 

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framework has long required proof at the pretext stage that retaliation was a but-for cause” of the
adverse employment action).

Assuming without deciding that Ms. Johnson could have established a prima facie case of
retaliation Edward Jones has proffered a valid basis for terminating Ms. Johnson Ms. Johnson
claimed the proffered reason was pretext and that she was terminated as retaliation for the letter
she submitted to AR on January 29, 2016. Given the sequence of events recited above, it is
apparent that was not the case.

Ms. Welch notified Ms. Johnson about her concerns regarding Ms. Johnson’s truthfulness
as early as January 8, 2016, and she further informed Ms. Johnson of the possibility of
termination on January 28, 2016, one day before Ms. Johnson submitted her letter to AR alleging
her race was influencing how AR handled the investigation While Edward Jones did not contest
that Ms. Johnson’s submission of her letter to AR was a protected activity, it fairly noted that
mere temporal proximity, absent other evidence, does not establish that retaliation was the but-
for cause of Ms. Johnson’s termination See Hernandez v. Yellow Transp. Inc., 670 F.3d 644, 660
(5th Cir. 2012) (holding that; on its own temporal proximity cannot establish but-for causation)
(internal citation omitted), cert denied, 568 U.S. 817 (2012); see also Staley v. Gruenberg, 575
Fed.Appx. 153, 156 (4th Cir. 2014).9 Ms. Johnson has presented no other facts which would
indicate that Ms. Welch’s decision to terminate her was motivated by retaliatory animus10 Ms.
Johnson cannot claim that her termination was causally related to the letter when she already was

on notice that she might be fired.

 

9 Unpublished cases are cited not as precedent but for the persuasiveness of their reasoning

1° Ms. Johnson argued that Edward Jones’ proHered reason for terminating her was so thin as to evidence
pretext To the contrary, Edward Jones has provided extensive evidence demonstrating its long-nmning
concern regarding Ms. Johnson’s truthfiilness while the investigation was ongoing. Furthermore, in order
to satisfy her burden Ms. Johnson would have to demonstrate not just that her temiination was pretext,
but that it was pretext for retaliation which she has not done given that Ms. Johnson presented no facts to
indicate the letter played any role in Edward Jones’ decision to fire her.

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Conclusion
For the reasons stated above, Edward Jones’ motion for summary judgment will be

granted A separate order follows

/O L>' rf j¢rg

Date Catherine C. Blake
United States District Judge

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